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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA


                                               CASE NO.

  NELSON FERNANDEZ,

         Plaintiff,

  vs.

  MISSION BBQ MARKET PARTNERS
  OF SOUTHERN FLORIDA, LLC, a
  Florida limited liability company,

        Defendant.
  ________________________________/

                                            COMPLAINT

         Plaintiff NELSON FERNANDEZ, through undersigned counsel, sues Defendant

  MISSION BBQ MARKET PARTNERS OF SOUTHERN FLORIDA, LLC, a Florida limited

  liability company, and alleges as follows:

         1.      This is an action for declaratory and injunctive relief, attorney’s fees, costs, and

  litigation expenses for unlawful disability discrimination in violation of Title III of the Americans

  with Disabilities Act, 42 U.S.C. §§12181-12189 (“ADA”), as amended, and 28 C.F.R. Part 36.

         2.      This Court has jurisdiction over this case based on federal question jurisdiction, 28

  U.S.C. §1331, and the provisions of the ADA. Plaintiff seeks declaratory and injunctive relief

  pursuant to 28 U.S.C. §§2201 and 2202.

         3.      Venue is proper in this Court as all actions complained of herein and injuries and

  damages suffered occurred in the Southern District of Florida.




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         4.      Plaintiff NELSON FERNANDEZ is a resident of Palm Beach County, Florida, is

  sui juris, and is disabled as defined by the ADA and ADA Amendments Act of 2008, 42 U.S.C.

  §12101 (“ADAAA”).

         5.      Plaintiff is and at all relevant times has been a visually and physically disabled

  person who has been medically diagnosed with Relapsing-Remitting Multiple Sclerosis

  (“RRMS”). As a result of his condition, Plaintiff is paralyzed in approximately 80% to 90% of his

  body as a whole and only has very limited use of his left hand. Further because of his condition,

  Plaintiff has developed optic neuritis and is visually disabled, with complete blindness in one eye

  and very limited vision in the other eye. Plaintiff thus is substantially limited in performing one

  or more major life activities, including, but not limited to, seeing and accurately visualizing his

  world and adequately traversing obstacles. As such, he is a member of a protected class under the

  ADA, 42 U.S.C. §12102(1)-(2), the regulations implementing the ADA set forth at 28 CFR

  §§36.101, et seq., and 42 U.S.C. §3602(h). Plaintiff further is an advocate of the rights of similarly

  situated disabled persons and is a “tester” for the purposes of asserting his civil rights and

  monitoring, ensuring, and determining whether places of public accommodation and/or their

  respective and associated websites are in compliance with the ADA and any other applicable

  disability laws, regulations, and ordinances.

         6.      Because he is visually disabled, Plaintiff cannot use his computer without the

  assistance of appropriate and available auxiliary aids, screen reader software, and other technology

  and assistance. Screen reader software translates the visual internet into an auditory equivalent.

  At a rapid pace, the software reads the content of a webpage to the user. “The screen reading

  software uses auditory cues to allow a visually impaired user to effectively use websites. For

  example, when using the visual internet, a seeing user learns that a link may be ‘clicked,’ which



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  will bring him to another webpage, through visual cues, such as a change in the color of the text

  (often text is turned from black to blue). When the sighted user's cursor hovers over the link, it

  changes from an arrow symbol to a hand. The screen reading software uses auditory -- rather than

  visual -- cues to relay this same information. When a sight impaired individual reaches a link that

  may be ‘clicked on,’ the software reads the link to the user, and after reading the text of the link

  says the word ‘clickable.’…Through a series of auditory cues read aloud by the screen reader, the

  visually impaired user can navigate a website by listening and responding with his keyboard.”

  Andrews v. Blick Art Materials, LLC, 286 F.Supp.3d 365, 374 (E.D.N.Y. 2017).

         7.      Defendant is a Florida limited liability company authorized to do business and

  doing business in the State of Florida. Defendant owns, operates, and/or controls, either directly

  or through franchise and/or licensing agreements, a chain of 134 restaurants, including the one that

  Plaintiff intended to patronize in the near future located at 1100 Congress Avenue, Boynton Beach,

  Florida.

         8.      Plaintiff’s visual disability limits him in the performance of major life activities,

  including sight, and he requires assistive technologies, auxiliary aids, and services for effective

  communication, including communication in connection with his use of a computer.

         9.      Plaintiff frequently accesses the internet. Because he is visually disabled, to

  effectively communicate and comprehend information available on the internet and thereby access

  and comprehend websites, Plaintiff uses commercially available screen reader software to

  interface with the various websites.

         10.     At all times material hereto, Defendant was and still is an organization that owns,

  operates, and/or controls, either directly or through franchise and/or licensing agreements, a chain

  of 134 restaurants under the name “Mission BBQ”. Each “Mission BBQ” restaurant is open to the



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  public. As the owner, operator, and/or controller of these restaurants, Defendant is defined as a

  place of “a restaurant, bar, or other establishment serving food and drink,” per 42 U.S.C.

  §12181(7)(B) and 28 C.F.R. §36.104(2).

         11.     Because Defendant is a restaurant open to the public, each of Defendant’s

  restaurants is a place of public accommodation subject to the requirements of the ADA, 42 U.S.C.

  §12182, §12181(7)(B), and its implementing regulations, 28 C.F.R. Part 36.

         12.     Defendant also owns, controls, maintains, and/or operates an adjunct website,

  https://mission-bbq.com (the “Website”). One of the functions of the Website is to provide the

  public information on the location of Defendant’s restaurants. Defendant also sells to the public

  its food and beverage products through the Website, which acts as a critical point of sale and

  ordering for Defendant’s food and beverage products made in and also available for purchase in,

  from, and through Defendant’s physical restaurants. In addition, the Website allows the public to

  arrange in-restaurant pickups of food and beverage products purchased online and purchase

  physical or electronic gift cards for use online or in the physical restaurants.

         13.     The Website also services Defendant’s physical restaurants by providing

  information on available food and beverage products, services, tips and advice, editorials, sales

  campaigns, events, and other information that Defendant is interested in communicating to its

  customers.

         14.     Because the Website allows the public the ability to secure information about the

  location of Defendant’s physical restaurants, arrange in-restaurant pickups of food and beverage

  products purchased online, and purchase physical or electronic gift cards for use online or in the

  physical restaurants, the Website has a nexus to, and is an extension of and gateway to, the goods,

  services, privileges, and advantages of Defendant’s physical restaurants, which are places of public



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  accommodation under the ADA. As an extension of and service, privilege, and advantage

  provided by a place of public accommodation as defined under the ADA, the Website is an

  extension of the services, privileges, and advantages made available to the general public by

  Defendant at and through its brick-and-mortar locations and businesses. Furthermore, the Website

  is a necessary service and privilege of Defendant’s physical restaurants in that, as a critical point

  of sale and ordering for Defendant’s restaurants, it enables users of the Website to make online

  orders and purchases of Defendant’s food and beverage products that are made in and also

  available for purchase in, from, and through its physical restaurants.

         15.     Because the public can view, order, and purchase Defendant’s food and beverage

  products through the Website that are also offered for sale in and from Defendant’s physical

  restaurants, thus having the Website act as a critical point of sale and ordering for Defendant’s

  food and beverage products that are also sold in, from, and through the physical restaurants,

  arrange in-restaurant pickups of food and beverage products purchased online, and purchase

  physical or electronic gift cards for use online or in the physical restaurants, the Website is an

  extension of, and gateway to the physical restaurants, which are places of public accommodation

  pursuant to the ADA, 42 U.S.C. §12181(7)(B). As such, the Website is a necessary service,

  privilege, and advantage of Defendant’s brick-and-mortar restaurants that must comply with all

  requirements of the ADA, must not discriminate against individuals with visual disabilities, and

  must not deny those individuals the same full and equal access to and enjoyment of the goods,

  services, privileges, and advantages afforded the non-visually disabled public both online and in

  the physical restaurants.

         16.     At all times material hereto, Defendant was and still is an organization owning,

  operating, and/or controlling the Website. Since the Website is open to the public through the



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  internet, by this nexus the Website is an intangible service, privilege, and advantage of Defendant’s

  brick-and-mortar restaurants that must comply with all requirements of the ADA, must not

  discriminate against individuals with visual disabilities, and must not deny those individuals the

  same full and equal access to and enjoyment of the goods, services, privileges, and advantages as

  are afforded the non-visually disabled public both online and in the physical restaurants. As such,

  Defendant has subjected itself and the Website to the requirements of the ADA.

          17.     Plaintiff is and/or has been a customer who is interested in patronizing, and intends

  to patronize in the near future once the Website’s access barriers are removed or remedied, one or

  more of Defendant’s physical restaurants (including the restaurant located at 1100 Congress

  Avenue, Boynton Beach, Florida), and to search for the brick-and-mortar restaurants, check

  restaurant hours and food and beverage product pricing, arrange in-restaurant pickups of food and

  beverage products purchased online, and purchase physical or electronic gift cards for use online

  or in the physical restaurants. In the alternative, Plaintiff intends to monitor the Website in the near

  future as a tester to ascertain whether it has been updated to interact properly with screen reader

  software.

          18.     The opportunity to shop and pre-shop Defendant’s food and beverage product

  offerings, arrange in-restaurant pickups of food and beverage products purchased online, and

  purchase physical or electronic gift cards for use online or in the physical restaurants from his

  home are important and necessary accommodations for Plaintiff because traveling outside of his

  home as a visually disabled individual is often a difficult, hazardous, frightening, frustrating, and

  confusing experience. Defendant has not provided its business information in any other digital

  format that is accessible for use by blind and visually disabled individuals using screen reader

  software.



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         19.     Like many consumers, Plaintiff accesses several websites at a time to help plan his

  restaurant visits and to compare food and beverage product offerings, services, prices, sales,

  discounts, and promotions. Plaintiff may look at several dozen websites to compare features,

  services, discounts, promotions, and prices.

         20.     Beginning in November 2023, Plaintiff attempted on a number of occasions to

  utilize the Website to browse through the available food and beverage products and online offers

  to educate himself as to the food and beverage offerings, services sales, discounts, and promotions

  being offered, learn about the brick-and-mortar restaurants, check restaurant hours, and check food

  and beverage product pricing with the intent to make a purchase through the Website or in, from,

  and through one of the physical restaurants. Plaintiff also attempted to access and utilize the

  Website in his capacity as a tester to determine whether it was accessible to blind and visually

  disabled persons such as himself who use screen reader software to access and navigate company

  websites.

         21.     Plaintiff utilizes available screen reader software that allows individuals who are

  blind and visually disabled to communicate with websites. However, Defendant’s Website

  contains access barriers that prevent free and full use by blind and visually disabled individuals

  using keyboards and available screen reader software. These barriers are pervasive and include,

  but are not limited to:

         a. Inaccessible options when placing an order online for an item that requires the selection
         of options, such as for sides, type of meat, etc.;

         b. When placing an order online, inaccessible pickup time options; and

         c. The lack of a notification to let a screen reader user know that an item has been

         removed/deleted from the shopping cart.




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         22.     Plaintiff attempted to locate an “accessibility” notice, statement, or policy on the

  Website that would direct him to a webpage with contact information for disabled individuals who

  have questions or concerns about, or who are having difficulties communicating with, the Website.

  Although the Website appeared to have an accessibility widget/plugin installed, that widget/plugin,

  when activated and tested, still could not be effectively accessed by, continued to be a barrier to,

  and did not provide a viable alternative means to access and navigate the Website for blind and

  visually disabled persons, including Plaintiff. Plaintiff, thus, was unable to receive any meaningful

  or prompt assistance through the accessibility widget/plugin to enable him to equally, quickly,

  fully, and effectively navigate the Website.

         23.     The fact that Plaintiff could not communicate with or within the Website left him

  feeling excluded, frustrated, and humiliated, and gave him a sense of isolation and segregation, as

  he is unable to participate in the same shopping and dining experience, with the same access to the

  food and beverage products, sales, services, discounts, and promotions, as provided at the Website

  and in the physical restaurants as the non-visually disabled public.

         24.     Plaintiff desires and intends, in the near future once the Website’s access barriers

  are removed or remedied, to patronize one or more of Defendant’s physical restaurants and to use

  the Website, but he is presently unable to do so as he is unable to effectively communicate with

  Defendant due to his visual disability and the Website’s access barriers. Alternatively, as a tester

  using screen reader software, Plaintiff is unable to effectively access, navigate, and communicate

  with Defendant through the Website due to his visual disability and the Website’s access barriers.

  Thus, Plaintiff and others who are blind and with visual disabilities will suffer continuous and

  ongoing harm from Defendant’s intentional acts, omissions, policies, and practices as set forth

  herein unless properly enjoined by this Court.



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          25.     Because of the nexus between Defendant’s restaurants and the Website, and the

  fact that the Website clearly provides support for and is connected to Defendant’s restaurants for

  its operation and use, the Website is an intangible service, privilege, and advantage of Defendant’s

  brick-and-mortar restaurants that must comply with all requirements of the ADA, must not

  discriminate against individuals with disabilities, and must not deny those individuals the same

  full and equal access to and enjoyment of the goods, services, privileges, and advantages as

  afforded the non-visually disabled public both online and in the physical restaurants, which are

  places of public accommodation subject to the requirements of the ADA.

          26.     On information and belief, Defendant has not initiated a Web Accessibility Policy

  to ensure full and equal use of the Website by individuals with disabilities.

          27.     On information and belief, Defendant has not instituted a Web Accessibility

  Committee to ensure full and equal use of Website by individuals with disabilities.

          28.     On information and belief, Defendant has not designated an employee as a Web

  Accessibility Coordinator to ensure full and equal use of the Website by individuals with

  disabilities.

          29.     On information and belief, Defendant has not instituted a Web Accessibility User

  Accessibility Testing Group to ensure full and equal use of the Website by individuals with

  disabilities.

          30.     On information and belief, Defendant has not instituted a User Accessibility

  Testing Group to ensure full and equal use of the Website by individuals with disabilities.

          31.     On information and belief, Defendant has not instituted a Bug Fix Priority Policy.

          32.     On information and belief, Defendant has not instituted an Automated Web

  Accessibility Testing program.



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             33.   Defendant has not created and instituted a useful and effective Specialized

   Customer Assistance line or service or email contact mode for customer assistance for the visually

   disabled.

             34.   Defendant has not created and instituted on the Website a useful and effective page

   for individuals with disabilities, nor displayed a link and information hotline, nor created a proper

   information portal explaining when and how Defendant will have the Website, applications, and

   digital assets accessible to the visually disabled and blind communities.

             35.   The Website does not meet the Web Content Accessibility Guidelines (“WCAG”)

   2.0 Level AA or higher versions of web accessibility.

             36.   Defendant has not disclosed to the public any intended audits, changes, or lawsuits

   to correct the inaccessibility of the Website to visually disabled individuals who want the safety

   and privacy of ordering and purchasing Defendant’s food and beverage products offered on the

   Website and made in the physical restaurants from their homes.

             37.   Defendant thus has not provided full and equal access to, and enjoyment of the

   goods, services, facilities, privileges, advantages, and accommodations provided by and through

   the Website and the physical restaurants in contravention of the ADA.

             38.   Public accommodations under the ADA must ensure that their places of public

   accommodation provide effective communication for all members of the general public, including

   individuals with visual disabilities such as Plaintiff.

             39.   The broad mandate of the ADA is to provide an equal opportunity for individuals

   with disabilities to participate in and benefit from all aspects of American civic and economic life.

   That mandate extends to internet shopping websites such as the Website at issue in the instant

   action.



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          40.     Defendant is, and at all relevant times has been, aware of the barriers to effective

   communication within the Website which prevent individuals with visual disabilities from the

   means to comprehend information presented therein.

          41.     Defendant is, and at all relevant times has been, aware of the need to provide full

   and equal access to all visitors to the Website.

          42.      The barriers that exist on the Website result in discriminatory and unequal

   treatment of individuals with visual disabilities, including Plaintiff.

          43.     Plaintiff has no plain, adequate, or complete remedy at law to redress the wrongs

   alleged hereinabove, and this suit for declaratory judgment and injunctive relief is his only means

   to secure adequate and complete redress from Defendant’s unlawful and discriminatory practices

   in connection with the Website’s access and operation.

          44.     Notice to Defendant is not required because of Defendant’s failure to cure the

   violations.

          45.     Enforcement of Plaintiff’s rights under the ADA is right and just pursuant to 28

   U.S.C. §§2201 and 2202.

          46.     Plaintiff has retained the undersigned attorneys to represent him in this case and

   has agreed to pay them a reasonable fee for their services.

                               COUNT I – VIOLATION OF THE ADA

          47.     Plaintiff re-alleges paragraphs 1 through 46 as if set forth fully herein.

          48.     Pursuant to 42 U.S.C. §12181(7)(B), Defendant is a public accommodation under

   the ADA and thus is subject to the ADA.

          49.     Pursuant to 42 U.S.C. §12181(7)(B), the Website is covered under the ADA

   because it provides the general public with the ability to locate and learn about Defendant’s



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   physical restaurants, purchase food and beverage products that are made in and also available for

   purchase in, from, and through the physical restaurants, arrange in-restaurant pickups of food and

   beverage products purchased online, and purchase physical or electronic gift cards for use online

   or in the physical restaurants. The Website thus is an extension of, gateway to, and intangible

   service, privilege, and advantage of Defendant’s physical restaurants. Further, the Website serves

   to augment Defendant’s physical restaurants by providing the public information about the

   physical restaurants and by educating the public as to Defendant’s available food and beverage

   products made in and sold through the Website and in, from, and through the physical restaurants.

          50.     Under Title III of the ADA, 42 U.S.C. §12182(b)(1)(A)(II), it is unlawful

   discrimination to deny individuals with disabilities or a class of individuals with disabilities an

   opportunity to participate in or benefit from the goods, services, facilities, privileges, advantages,

   or accommodation, which is equal to the opportunities afforded to other individuals.

          51.     Specifically, under Title III of the ADA, 42 U.S.C. §12182(b)(2)(A)(II), unlawful

   discrimination includes, among other things, “a failure to make reasonable modifications in

   policies, practices, or procedures, when such modifications are necessary to afford such goods,

   services, facilities, privileges, advantages, or accommodations to individuals with disabilities,

   unless the entity can demonstrate that making such modifications would fundamentally alter the

   nature of such goods, services, facilities, privileges, advantages or accommodations.”

          52.     In addition, under Title III of the ADA, 42 U.S.C. §12182(b)(2)(A)(III), unlawful

   discrimination includes, among other things, “a failure to take such steps, as may be necessary to

   ensure that no individual with a disability is excluded, denied services, segregated or otherwise

   treated differently than other individuals because of the absence of auxiliary aids and services,

   unless the entity can demonstrate that taking such steps would fundamentally alter the nature of



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   the good, service, facility, privilege, advantage, or accommodation being offered or would result

   in an undue burden.”

          53.     Defendant’s Website must comply with the ADA, but it does not as specifically

   alleged hereinabove and below.

          54.     Because of the inaccessibility of the Website, individuals with visual disabilities

   are denied full and equal access to, and enjoyment of, the goods, information, and services that

   Defendant has made available to the public on the Website and in the physical restaurants in

   violation of 42 U.S.C. §12101, et seq, and as prohibited by 42 U.S.C. §12182, et seq.

          55.     The Website was subsequently visited by Plaintiff’s expert in November 2023 and

   the expert determination was that the same access barriers that Plaintiff had initially encountered,

   as well as numerous additional access barriers, existed. Despite being a defendant in a prior ADA

   website accessibility lawsuit, which likely resulted in a confidential settlement agreement that

   obligated Defendant to fully remediate the Website, Defendant has made insufficient material

   changes or improvements to the Website to enable its full and equal use and enjoyment by, and

   accessibility to, blind and/or visually disabled persons such as Plaintiff. When the Website was

   visited by the expert, although the Website appeared to have an “accessibility” widget/plugin

   installed, that widget/plugin, when activated and tested, could not be effectively used or accessed

   by, continued to be a barrier to, and did not provide a viable alternative means to access and

   navigate the Website for blind and/or visually disabled persons such as Plaintiff. Defendant

   furthermore has not disclosed to the public any intended audits, changes, or lawsuits to correct the

   inaccessibility of the Website to visually disabled individuals. Defendant thus has failed to make

   reasonable modifications in its policies, practices, or procedures when such modifications are

   necessary to afford goods, services, facilities, privileges, advantages, or accommodations to



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   individuals with disabilities, in violation of 28 C.F.R. §36.302. The lack of a useful and effective

   “accessibility” notice, policy, or statement and the numerous access barriers as set forth in the

   Declaration of Plaintiff’s expert, Robert D. Moody, attached hereto as Composite Exhibit “A” and

   the contents of which are incorporated herein by reference, continue to render the Website not

   fully and equally accessible to users who are blind and visually disabled, including Plaintiff.

          56.     More violations may be present on other pages of the Website, which can and will

   be determined and proven through the discovery process in this case.

          57.     There are readily available, well-established guidelines on the internet for making

   websites accessible to the blind and visually disabled. These guidelines have been followed by

   other large business entities in making their websites accessible. Examples of such guidelines

   include, but are not limited to, adding alt-text to graphics and ensuring that all functions can be

   performed using a keyboard. Incorporating such basic components to make the Website accessible

   would neither fundamentally alter the nature of Defendant’s business nor would it result in an

   undue burden to Defendant.

          58.     Defendant has violated the ADA -- and continues to violate the ADA -- by denying

   access to the Website by individuals such as Plaintiff with visual disabilities who require the

   assistance of screen reader software to comprehend and access internet websites. These violations

   within the Website are ongoing.

          59.     The ADA requires that public accommodations and places of public

   accommodation ensure that communication is effective.

          60.     According to 28 C.F.R. §36.303(b)(1), auxiliary aids and services include “voice,

   text, and video-based telecommunications products and systems”.                Indeed, 28 C.F.R.




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   §36.303(b)(2) specifically states that screen reader software is an effective method of making

   visually delivered material available to individuals who are blind or have low vision.

          61.     According to 28 C.F.R. §36.303(c), public accommodations must furnish

   appropriate auxiliary aids and services where necessary to ensure effective communication with

   individuals with disabilities: “In order to be effective, auxiliary aids and services must be provided

   in accessible formats, in a timely manner, and in such a way as to protect the privacy and

   independence of the individual with a disability,” 28 C.F.R. §36.303(c)(1)(ii).

          62.     Part 36 of Title 28 of the C.F.R. was designed and is implemented to effectuate

   subtitle A of Title III of the ADA, which prohibits discrimination on the basis of disability by

   public accommodations, and requires places of public accommodation to be designed, constructed,

   and altered in compliance with the accessibility standards established by Part 36.

          63.     As alleged hereinabove, the Website has not been designed to interface with the

   widely and readily available technologies that can be used to ensure effective communication, and

   thus violates the ADA.

          64.     As a direct and proximate result of Defendant’s failure to provide an ADA

   compliant Website, with a nexus to its brick-and-mortar restaurants, Plaintiff has suffered an injury

   in fact by being denied full and equal access to, enjoyment of, and communication with

   Defendant’s Website and its physical restaurants.

          65.     Because of the inadequate development and administration of the Website, Plaintiff

   is entitled to injunctive relief pursuant to 42 U.S.C. §12133 and 28 C.F.R. §36.303, to remedy the

   ongoing disability discrimination.

          66.     Pursuant to 42 U.S.C. §12188, this Court is vested with the authority to grant

   Plaintiff appropriate and necessary injunctive relief, including an order to:



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          a) Require Defendant to adopt and implement a web accessibility policy to make publicly

   available, and directly link from the homepage of the Website, a functional statement of the policy

   to ensure persons with disabilities have full and equal access to and enjoyment of the goods,

   services, facilities, privileges, advantages, and accommodations of the physical restaurants through

   the Website.

          b) Require Defendant to take the necessary steps to make the Website readily accessible

   to and usable by blind and visually disabled users, and during that time period prior to the Website

   being made readily accessible, provide an alternative method for individuals with visual

   disabilities to access the information available on the Website until such time that the requisite

   modifications are made, and

          c) Require Defendant to provide the appropriate auxiliary aids such that individuals with

   visual disabilities will be able to effectively communicate with the Website for purposes of

   viewing and locating Defendant’s physical restaurants and becoming informed of and purchasing

   Defendant’s food and beverage products, and during that time period prior to the Website being

   designed to permit individuals with visual disabilities to effectively communicate, to provide an

   alternative method for individuals with visual disabilities to effectively communicate for such

   goods and services made available to the general public through the Website and the physical

   restaurants.

          67.     Plaintiff is entitled to recover his reasonable attorney’s fees, costs, and expenses

   pursuant to the ADA. To that end, Plaintiff has been obligated to retain the undersigned counsel

   for the filing and prosecution of this action and has agreed to pay them a reasonable fee for their

   services.




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          WHEREFORE, Plaintiff requests entry of judgment in his favor and against Defendant for

   the following relief:

          A. A declaration that Defendant’s Website is in violation of the ADA;

          B. An Order requiring Defendant, by a date certain, to update the Website, and continue

              to monitor and update the Website on an ongoing basis, to remove barriers in order that

              individuals with visual disabilities can access, and continue to access, the Website and

              effectively communicate with the Website to the full extent required by Title III of the

              ADA;

          C. An Order requiring Defendant, by a date certain, to provide ongoing support for web

              accessibility by implementing a Website accessibility coordinator, a Website

              application accessibility policy, and providing for Website accessibility feedback to

              ensure compliance thereto;

          D. An Order directing Defendant, by a date certain, to evaluate its policies, practices and

              procedures toward persons with disabilities, for such reasonable time to allow

              Defendant to undertake and complete corrective procedures to its Website;

          E. An Order directing Defendant, by a date certain, to establish a policy of web

              accessibility and accessibility features for the Website to ensure effective

              communication for individuals who are visually disabled;

          F. An Order requiring, by a date certain, that any third-party vendors who participate on

              Defendant’s Website to be fully and equally accessible to the visually disabled;

          G. An Order directing Defendant, by a date certain and at least once yearly thereafter, to

              provide mandatory web accessibility training to all employees who write or develop

              programs or code for, or who publish final content to, the Website on how to conform



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             all web content and services with ADA accessibility requirements and applicable

             accessibility guidelines;

          H. An Order directing Defendant, by a date certain and at least once every three months

             thereafter, to conduct automated accessibility tests of the Website to identify any

             instances where the Website is no longer in conformance with the accessibility

             requirements of the ADA and any applicable accessibility guidelines, and further

             directing Defendant to send a copy of the twelve (12) quarterly reports to Plaintiff’s

             counsel for review;

          I. An Order directing Defendant, by a date certain, to make publicly available and directly

             link from the Website homepage, a statement of Defendant’s Accessibility Policy to

             ensure the persons with disabilities have full and equal enjoyment of the Website and

             shall accompany the public policy statement with an accessible means of submitting

             accessibility questions and problems;

          J. An award to Plaintiff of his reasonable attorney’s fees, costs and expenses; and

          K. Such other and further relief as the Court deems just and equitable.

          DATED: January18th , 2024.

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   By:    s/ Roderick V. Hannah                        By:    s/ Pelayo M. Duran
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